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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


                                                  )
In re:                                            )       Chapter 11
                                                  )
HORNBLOWER HOLDINGS LLC, et al.                   )       Case No. 24-90061 (MI)
                                                  )
                              Debtors             )       (Jointly Administered)
                                                  )

                      THE UNITED STATES TRUSTEE’S
      NOTICE OF APPOINTMENT OF COMMITTEE OF UNSECURED CREDITORS

TO THE HONORABLE MARVIN ISGUR
UNITED STATES BANKRUPTCY JUDGE:

        Kevin M. Epstein, the United States Trustee for Region 7, hereby appoints the following
eligible creditors to the Committee of Unsecured Creditors pursuant to 11 U.S.C. § 1102(a)(1) in this
case:

                                         Members
 1.      Angela Composto
         C/O Stuart J. Miller
         100 Church Street, 8th Floor
         New York, NY 10007
         Angela.composto2375@gmail.com
         stuart@lankmill.com
 2.      Ryan Landry
         Mr. Row, LLC (SeaTran Marine)
         107 Highway 90 W
         New Iberia, LA 70560
         ryan@seatranmarine.com
 3.      Eric Blum
         Pleasant Holidays
         3333 Fairview Road, A451
         Costa Mesa, CA 92626
         Blum.Eric@ace.aaa.com
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 4.   Joe Scott
      Easton Coach Company
      310 West Johnson Highway, Suite 104
      Norristown, PA 19401
      jscott@eastoncoach.com
 5.   Dane Fish
      Vacations to Go Inc.
      5851 San Felipe Street, Suite 500
      Houston, TX 77057
      dfish@vacationstogo.com
 6.   Emmanuel Cotrel
      FMC GlobalSat Inc.
      1200 E. Las Olas Blvd., 3rd Floor
      Fort Lauderdale, Florida 33301
      ecotrel@fmcglobalsat.com
 7.   Eva Engelhart
      The Peabody Memphis
      149 Union Avenue
      Memphis, TN 38103
      eengelhart@rossbanks.com

SIGNED on March 5, 2024.

Respectfully submitted,


                                        KEVIN M. EPSTEIN
                                        UNITED STATES TRUSTEE
                                        REGION 7, SOUTHERN and WESTERN
                                        DISTRICTS OF TEXAS

                                        By:   /s/ C. Ross Travis
                                              C. Ross Travis, Trial Attorney
                                              Louisiana State Bar No. 40083
                                              Email: C.Ross.Travis@usdoj.gov
                                              515 Rusk Street, Suite 3516
                                              Houston, Texas 77002
                                              (713) 718-4677
                                              (713) 718-4670 Fax
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                                   CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was served by electronic means on
all PACER participants on this 5th day of March 2024.

                                              /s/C. Ross Travis
                                              C. Ross Travis
